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Pro Se Non-Party NORTH DISTRICT OF CALIFUANE

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

Brand Little, et al., ) Case No.: 23-cv-1098
Plaintiff, )
) MEMORANDUM OF POINTS AND AUTHORITIES
V. ) IN SUPPORT OF MOTION TO QUASH SUBPOENA

)
Pacific Seafood Procurement, LLC, et al., )
Defendant. )

)

|. INTRODUCTION

On or about June 5, 2025, we received a subpoena commanding us to produce the following
records covering the period of January 1, 2015 through present, and to deliver the documents
to a location in San Francisco, California by July 3, 2025:

a. Documents sufficient to show All non-ex-vessel purchases of Unprocessed Dungeness Crab
made by You (such as, but not limited to, Out the Back Door purchases) made by You, including
date, price, weight, and seller of each transaction.

b. Documents sufficient to show All sales of Unprocessed Dungeness Crab made by You
(such as, but not limited to, Out the Back Door sales), including date, price, weight, buyer of
each purchase, and, if exported, export destination and location in the U.S. from which
exported.
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c. Documents sufficient to show All Your purchases of Processed Dungeness Crab, including
documents sufficient to show date, price, weight, seller, and type of processing of each
purchase.

d. Documents sufficient to show All Your sales of Processed Dungeness Crab, including
documents sufficient to show date, price, weight, buyer, type of processing of each sale, and, if
exported, export destination and location in the U.S. from which exported.

e. Documents sufficient to show, on a monthly basis, Your inventory of Processed and
Unprocessed Dungeness Crab, including but not limited to cost, weight type of processing, date
of processing and/or date of purchase, and any inventory aging, expiration or shelf-life tracking
information. [do you have this information for past years?]

f. Documents sufficient to show, on a monthly basis, the following information concerning Your
storage of Processed and Unprocessed Dungeness crab: costs, type of product, storage location,
storage type (e.g., freezer) and inventory. [do you have this information for past years?]

g. Documents sufficient to show, on a monthly basis, the following information concerning Your
shipping or transportation of Processed and Unprocessed Dungeness crab: costs, type of
product, weight, origin, destination, shipping method, shipping provider. [would you have to go
through and actually create a document to share this information? do you have any running
records like this?]

h. Documents sufficient to show Your ownership interest in any entity, including but not limited
to partnerships, corporations, and limited liability corporations, involved in the Commercial
Dungeness Crab Industry.

ji. Documents sufficient to show the ownership interest in You of any entity (including but not
limited to partnerships, corporations, and limited liability corporations) or individual, involved in
the Commercial Dungeness Crab Industry.

j. Documents sufficient to show all partnerships You have with entities or individuals involved in
the Commercial Dungeness Crab Industry. | am a non-party located in [City, State], and the
subpoena designates the place of compliance in San Francisco, California—well over 100 miles
from my residence and place of business.

Compliance with this subpoena would require me to manually locate and review thousands of
paper records, as | do not maintain this information in digital form. The task would take several
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months and place an undue burden on me, especially as a non-party. | therefore respectfully
request that the Court quash the subpoena.

ll. LEGAL STANDARD
Under Federal Rule of Civil Procedure 45(d)(3), a court must quash or modify a subpoena that:

- (A)(ii) requires a person to comply beyond 100 miles from where the person resides, is
employed, or regularly transacts business;

- (B){i) subjects a person to undue burden.

Federal Rule of Civil Procedure FRCP 26(b)(1) also requires that the burden and expense of the
discovery should not outweigh its likely benefit.

The Ninth Circuit has emphasized that “nonparties are afforded extra protection from the
courts” and that “[t]he burden on the nonparty must be balanced against the need for the
discovery.” Moon, 232 F.R.D. at 637.

Il. ARGUMENT
1. The Subpoena Violates the 100-Mile Rule (FRCP 45(c)(2)(A))

| reside and operate my business in Washington State, and the subpoena requires production of
documents in San Francisco, California—approximately 700 miles away. Rule 45(c) plainly
prohibits requiring a non-party to travel or produce documents more than 100 miles from their
location. In addition, the company has never conducted any business in California. The four
orders of Dungeness crab that were sold to a Northern California based company were picked
up at our Washington facility by the company, or a shipper hired by the company, directly. Upon
delivery in Washington, the business transaction was complete.

2. The Subpoena Imposes an Undue Burden (FRCP 45(d)(3)(A)(iv)) and Violates Proportionality
Principles (FRCP 26(b)(1))

| am a non-party with limited resources. The records requested are not maintained
electronically, and compiling them would involve extensive manual review. There are only six
employees of this company, and dedicating even one person to this effort would be a huge
burden. Given the ten-year scope of the request and the thousands of physical documents
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involved, responding would take potentially months and would severely disrupt operations of
this small company. Courts routinely quash subpoenas that impose such burdens on non-
parties. (See Wiwa v. Royal Dutch Petroleum Co., 392 F.3d 812 (5th Cir. 2004)).

| also believe there must be other companies that buy and sell Dungeness crab in Washington
state and other states on the Pacific coast that could, without such undue burden, provide
information on their transactions with this type of crab that might help the parties establish
their case much more effectively than anything | can provide in my relatively small operation.

IV. CONCLUSION
Because the subpoena violates the 100-mile limitation of Rule 45(c), subjects me to undue

burden under Rule 45(d)(3) and is not proportional as to a third party to the case under rule
Rule 26(b)(1), | respectfully request that the Court quash the subpoena.

DATED: July 2, 2025 -
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Jin Wei Liu On)behalf of L&C Seafood LLC, Pro Se

